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     K.B.R., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: H.B.R. No. 25SC179Supreme Court of Colorado, En BancApril 28, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA1293
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      DENIED PETITIONS FOR WRIT OF CERTIORARI
    
    2
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    